Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 1 of 9 PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

JG Technologies LLC,

               Plaintiff,
                                                           CIVIL ACTION
        v.
                                                           NO. 2:20-cv-172
Tesla, Inc. d/b/a Tesla Motors, Inc.,

               Defendant.                                  Jury Trial Demanded



                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff JG Technologies LLC (“Plaintiff” or “JGT”) files this Complaint under for

Patent Infringement against Defendant, and states as follows:

                                        THE PARTIES

       1.     Plaintiff is a limited liability company organized and existing under the

laws of the State of Alabama, having its principal office at 1592 SouthPointe Drive,

Hoover, AL 35244.

       2.     Defendant Tesla, Inc. d/b/a Tesla Motors, Inc., (“Defendant”) is a

corporation organized and existing under the laws of the State of Delaware with a

principal place of business at 3500 Deer Creek Road, Palo Alto, CA 94304. Defendant

may be served with process through its registered agent, CT Corporation, 1999 Bryan

St., Ste 900, Dallas, TX 75201-3136.

                                JURISDICTION AND VENUE

       3.     This Court has exclusive subject matter jurisdiction over this case pursuant

to 28 U.S.C. §§ 1331 and 1338(a) on the grounds that this action arises under the Patent
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 2 of 9 PageID #: 2



Laws of the United States, 35 U.S.C. § 1 et seq., including, without limitation, 35

U.S.C. §§ 271, 281, 284, and 285.

       4.     This Court has personal jurisdiction over Defendant because Defendant

has minimum contacts with the State of Texas and has purposefully availed itself of the

privileges of conducting business in the State of Texas. For example, on information

and belief, Defendant has sold or offered to sell infringing products in the State of Texas

and this Judicial District, or has manufactured accused vehicles and provided them to

intermediaries for distribution throughout the country, including Texas and this judicial

district, with knowledge of this distribution.

       5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b) on the

grounds that Defendant has committed acts of infringement in and has a regular and

established place of business in this Judicial District. For example, Defendant maintains

a “Destination Charging” station at 5204 E. End Blvd. S, Marshall, TX 75672, a

“Service” center at 3408 S SW Loop 323, Tyler, TX 75701, a “Gallery and Service”

center at 5800 Democracy Drive, Plano, TX 75024, and a “Gallery” at 7500 Windrose

Avenue Space B185, Plano, TX 75024, all of which are located within this judicial

district, and all of which Defendant holds out to the public as its own.

                               FACTUAL BACKGROUND

       6.     Plaintiff JGT is the owner by assignment of all right, title, and interest in

and to United States Patent No. 7,952,511, entitled “Method and Apparatus for the

Detection of Objects Using Electromagnetic Wave Attenuation Patterns” (“the ’511

patent”), including the right to sue for all past, present, and future infringement, which

assignment was duly recorded in the United States Patent and Trademark Office

(“USPTO”).


                                             2
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 3 of 9 PageID #: 3



       7.     James L. Geer, the sole inventor of the ʼ511 patent, is a member of JG

Technologies.

       8.     A true and correct copy of the ’511 patent is attached hereto as Exhibit A.

The ʼ511 patent is incorporated herein by reference.

       9.     The application that became the ’511 patent was filed on April 7, 2000,

and was assigned U.S. Patent Application Number 09/545,407 (“the ’407 Application”).

       10.    The ʼ407 Application claims priority to U.S. Provisional Application No.

60/128,233, filed April 7, 1999.

       11.    The ’511 patent issued on May 31, 2011, after a full and fair examination

by the United States Patent and Trademark Office.

       12.    The ’511 patent is valid and enforceable and directed to eligible subject

matter.

                         SUBJECT MATTER OF THE ’511 PATENT

       13.    The ʼ511 patent discloses and claims inventions relating to the detection of

objects using electromagnetic wave attenuation patterns.

       14.    For example, the ʼ511 patent discloses techniques for detecting enemy

aircraft, particularly stealth aircraft. As the ʼ511 patent recounts, “[r]adar was

developed in World War II to detect enemy aircraft. It has subsequently been refined to

detect a large variety of objects, including ships, helicopters, satellites, and land

vehicles.” ʼ511 patent at 1:8-11. Such “[r]adar systems typically work on the principle

of bouncing microwave radiation off an object and analyzing the reflected signal

(echo).” Id. at 11-13.

       15.    However, “[o]nce Radar saw widespread use, military planners saw the

military advantage that would accrue from having craft that are invisible to Radar.


                                              3
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 4 of 9 PageID #: 4



After decades of research and development, the United States began deployment of so

called stealth aircraft in the 1980’s,” technology that could be and in some cases by that

point had already been applied to other objects, such as ships, satellites, and land

vehicles. Id. at 1:33-37. As the ʼ511 patent describes, various techniques are used,

often in combination, to absorb, scatter, or diffuse electromagnetic radiation. Id. at 1:1-

64.

       16.    By the time the ʼ407 application was filed, the United States no longer had

a monopoly on stealth craft. Stealth technology had been deployed by several countries

and was expected to become available to even more countries, including some hostile to

the United States. Id. at 1:65-2:4. Thus, the inventor of the ʼ511 patent recognized that

“it is becoming increasing[ly] important for any military to be able to detect stealth

craft.” Id. at 2:5-6.

       17.    The ʼ511 patent addresses technological deficiencies in existing object-

detection systems, thereby providing improved techniques for detecting various objects,

including, for example, aircraft, missiles, satellites, drones, ships, boats, submarines,

tanks, trucks, and cars. Id. at 2:25-35.

       18.    For example, the ʼ511 patent states that its solution differed from security-

system technologies such as beam-interruption sensors. Id. at 2:43-45. Unlike those

technologies, the ʼ511 patent “does not seek to provide a narrow beam that is fully

blocked by the object to be detected.” Rather, the ʼ511 patent discloses embodiments

“provid[ing] a region of detection significantly larger than a ‘line of sight.’” Id. at 49-

51.




                                              4
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 5 of 9 PageID #: 5



       19.        Thus, unlike traditional systems in which “off axis sensitivity is extremely

limited by design,” the ʼ511 patent discloses embodiments in which “a large volume of

space may be monitored by a detector node . . . in contrast to known shadow detectors.”

Id. at 2:51-57.

       20.    In this way, the design principles of stealth aircraft, such as seeking to

absorb microwave radiation, actually increase contrast between the craft and the

background, thereby increasing visibility when technological solutions disclosed and

claimed in the ʼ511 patent are employed. Id. at 2:36-41.

       21.    The ʼ511 patent also recognizes the need to not only detect an object but to

recognize it. Thus, the ʼ511 patent discloses technological solutions to this problem as

well. For example, the ʼ511 patent discloses providing “a computer reference file for

the aircraft dimensions of the particular Stealth Craft suspected of detection.” Id. at

8:53-54. The ʼ511 patent also discloses using other characteristics, such as maximum

velocity or radar signature characteristics to resolve ambiguities regarding the object

suspected of detection. Id. at 8:54-55.

       22.    The claims of the ’511 patent address technological deficiencies of the

prior art such as those described above by reciting technical solutions to technical

problems. For example, claim 1 of the ’511 patent recites:

       1. A method for detecting an object, comprising the steps of:

       defining expected characteristics of a scattered invisible electromagnetic radiation pattern
       to be detected at a receiver;

       attenuating at least a portion of an invisible electromagnetic radiation field by a presence
       of an object within a path of invisible electromagnetic radiation, said invisible
       electromagnetic radiation propagating off axis with respect to the receiver toward a
       scattering medium; and

       detecting the attenuation to indicate a presence of the object.



                                                 5
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 6 of 9 PageID #: 6




       23.    The invention recited in claim 1 addresses technical deficiencies in the

state of the art. For example, it recites “defining expected characteristics of a scattered

invisible electromagnetic radiation pattern to be detected at a receiver,” “attenuating at

least a portion of an invisible electromagnetic radiation field by a presence of an object

within a path of invisible electromagnetic radiation, said invisible electromagnetic

radiation propagating off axis with respect to the receiver toward a scattering medium,”

and “detecting the attenuation to indicate a presence of the object.” This overcomes a

deficiency in prior solutions that provided a narrow beam and sought to detect when the

beam was fully blocked. Such technologies “were extremely limited by design” with

respect to off-axis sensitivity. In contrast, claim 1 recites “said invisible

electromagnetic radiation propagating off axis with respect to the receiver toward a

scattering medium,” thereby permitting coverage of a much larger area than the cross-

section of the object to be detected.

       24.    The claim elements recited in claim 1 were not well-understood, routine,

or conventional when the inventor of the ʼ511 patent filed his patent application.

       25.    The subject matter disclosed and claimed in the ’511 patent provides

solutions to other deficiencies in the art as well.

       26.    Claim 15 recites: “An apparatus for performing the method of claim 1,

comprising: means for storing expected characteristics of scattered electromagnetic

radiation to be received at a receiver; and a receiver for detecting the attenuation to

indicate a presence of the object.”




                                              6
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 7 of 9 PageID #: 7



       27.     Claim 15 address a technological problem regarding how to identify

detected objects to determine, for example, whether they pose a risk. This allows, for

example, a pedestrian to be identified based on stored characteristics of pedestrians.

       28.     The claim elements recited in claim 15 were not well-understood, routine,

or conventional when the inventor of the ʼ511 patent filed his patent application.

                   COUNT I – INFRINGEMENT OF THE ʼ511 PATENT

       29.     Plaintiff realleges and incorporates by reference the allegations set forth

above, as if set forth verbatim herein.

       30.     Defendant has been and are now making, using, selling, offering for sale,

and/or importing products that incorporate one or more of the inventions claimed in the

ʼ511 patent.

       31.     For example, Defendant infringes at least claims 1 and 15 of the ʼ511

patent, either literally or under the doctrine of equivalents, in connection with

Defendant’s vehicles equipped with cyclist, pedestrian, animal, and/or vehicle detection

systems, as detailed in the preliminary claim chart attached hereto as Exhibit B and

incorporated herein by reference.

       32.     Defendant’s infringing activities are and have been without authority or

license under the ’511 patent.

       33.     Plaintiff has been, and continues to be, damaged by Defendant’s

infringement of the ʼ511 patent, and Plaintiff is entitled to recover damages for

Defendant’s infringement, which damages cannot be less than a reasonable royalty.

       34.     Prior to filing this action, Plaintiff specifically notified Defendant in writing of

Defendant’s infringement of the ’511 patent.




                                                  7
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 8 of 9 PageID #: 8



       35.     Defendant has continued to infringe the ’511 patent despite this notice and despite

Defendant having actual knowledge of the ’511 patent at least since Defendant received such

notice, and Defendant’s infringement has therefore been willful.

       36.     Based at least on Defendant’s willful infringement, this case should be declared

exceptional, and Plaintiff should be awarded its costs, attorney’s fees, and both pre- and post-

judgment interest.

                                         JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable.

                                     PRAYER FOR RELIEF

       Plaintiff respectfully requests that the Court find in its favor and against Defendant, and

that the Court grant Plaintiff the following relief:

       A.      Entry of judgment that Defendant has infringed one or more claims of the

               ʼ511 patent, and that this infringement has been willful,

       B.      Damages in an amount to be determined at trial for Defendant’s

               infringement, which amount cannot be less than a reasonable royalty,

       C.      Entry of judgment that this case is exceptional and that Plaintiff be

               awarded all of its costs, expenses, and attorney’s fees incurred in

               connection with this action,

       D.      Pre-judgment and post-judgment interest on the damages assessed, and

       E.      Such other and further relief, both at law and in equity, to which Plaintiffs

               may be entitled and which the Court deems just and proper.


       This 31st day of May, 2020.




                                                   8
Case 2:20-cv-00172-JRG-RSP Document 1 Filed 05/31/20 Page 9 of 9 PageID #: 9



                                         /s/Daniel A. Kent
                                         Daniel A. Kent
                                           dankent@kentrisley.com
                                           Tel: (404) 585-4214
                                           Fax: (404) 829-2412
                                         Stephen R. Risley
                                           steverisley@kentrisley.com
                                           Tel: (404) 585-2101
                                           Fax: (404) 389-9402
                                         Cortney S. Alexander
                                           cortneyalexander@kentrisley.com
                                           Tel: (404) 855-3867
                                           Fax: (770) 462-3299
                                         KENT & RISLEY LLC
                                         5755 N Point Pkwy Ste 57
                                         Alpharetta, GA 30022

                                         Attorneys for Plaintiff




                                     9
